        Case 6:21-cv-00984-ADA Document 108 Filed 11/08/22 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


JAWBONE INNOVATIONS, LLC,
            Plaintiff,
       v.                                         6:21-CV-00984-ADA
 APPLE INC.,
                   Defendant.


                                        STAY ORDER

       On November 8, 2022, the Federal Circuit issued a precedential order that granted

Apple's petition to vacate a similar scheduling order to the one the Court issued in this case.

See In re Apple Inc., 2022-162 (Fed. Cir. Nov. 8, 2022). Accordingly, the Court hereby

VACATES its Discovery and Scheduling Order (ECF No. 103) and its Order Extending

Scheduling Order Deadlines (ECF No. 107) pursuant to the Federal Circuit's guidance. IT

IS FURTHER ORDERED that the proceedings, including all deadlines, in the above

captioned matter are STAYED as of the date of this Order, pending resolution of the Motion for

Transfer at ECF No. 38.



SIGNED this 8th day of November, 2022.




                                              1
